
687 S.E.2d 295 (2009)
STATE of North Carolina
v.
Shaynio Marcus THOMAS.
No. 388P09.
Supreme Court of North Carolina.
November 5, 2009.
Russell Joseph Hollers, Durham, for Shaynio Thomas.
Derrick C. Mertz, Assistant Attorney General, for State of NC.

ORDER
Upon consideration of the petition filed on the 22nd of September 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th of November 2009."
